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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      : 4:17-CR-00403
                                              :
                   v.                         : (Judge Brann)
                                              :
RAYMOND KRAYNAK                               : (Electronically Filed)

      BRIEF IN SUPPORT OF MOTION IN LIMINE TO PRECLUDE
              EVIDENCE UNDER F.R.E 402, 403 AND 404


      AND NOW, comes the defendant, Raymond Kraynak, by his attorneys

Thomas A. Thornton and Gerald A. Lord of the Federal Public Defender’s Office,

and files this Brief in Support of Motion in Limine to Preclude Evidence Under

F.R.E. 402, 403 and 404.

         I.     Factual and Procedural History

      On December 20, 2017, an Indictment was filed charging Raymond Kraynak

with the unlawful distribution and dispensing of a controlled substance, in

violation of 21 U.S.C. § 841(a)(1) (Counts 1 through 12); unlawful distribution and

dispensing of a controlled substance resulting in death, in violation of 21 U.S.C. §

841(a)(1) and (b)(1)(C) (Counts 13-17); and maintaining drug-involved premises,

in violation of 21 U.S.C. § 856(a)(1) (Count 18 and 19).
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      On December 21, 2017, Raymond Kraynak appeared before Magistrate

Judge Susan E. Schwab for an initial appearance and arraignment. The Federal

Public Defender was appointed to represent Dr. Kraynak.

      By order of February 4, 2021, this Honorable Court scheduled jury selection

and trial for September 7, 2021. Pretrial motions and briefs were filed on May 10,

2021. Motions in Limine are due on or before June 7, 2021. Simultaneously

herewith, Dr. Kraynak filed a motion in limine to preclude evidence under F.R.E.

402, 403 and 404 and now files this supporting brief.

         II.      Argument

               1. The evidence sought to be excluded is not intrinsic
                  to the crimes charged.

      Evidence is intrinsic if it falls into one of two categories: 1) if it directly

proves the charged offense; or 2) uncharged acts performed contemporaneously

with the charged crime are intrinsic if they facilitate the commission of the charged

crime. See United States v. Green, 617 F.3d 233, 248-49 (3rd Cir. 2010) (citations

omitted). 1 All else must be analyzed under Rule 404(b). Id.



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   The Third and Seventh Circuits have explicitly rejected the “inextricably
intertwined” test as a test for intrinsic evidence. Green, supra; United States v.
Gorman, 613 F.3d 711, 719 (7th Cir. 2010). Other courts admit other act evidence
as “inextricably intertwined” with charged acts. See e.g., United States v. Rodriguez-
Estrada, 877 F.2d 153, 155-56 (1st Cir. 1989); United States v. Hsu, 669 F.3d 112,
118 (2nd Cir. 2012); United States v. Cooper, 482 F.3d 658, 663 (4th Cir. 2007);
United States v. Hall, 604 F.3d 539, 543 (8th Cir. 2010); United States v. Dorsey,
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      Here, the government seeks to introduce evidence of irrelevant wrongs and

other acts. There is no need to introduce such evidence to prove the charged

conduct. Such evidence is neither performed contemporaneously with the charged

crimes nor does it facilitate the charged crimes. See generally, United States v.

Miller, 105 S. Ct. 1811, 1815 (1985)(noting that a part of the indictment

unnecessary to and independent of the allegations of the offense proved may

normally be treated as a useless averment that may be ignored). The government is

simply trying to bring propensity evidence in the backdoor. The evidence sought

to be excluded does not further any element of the offenses that the government is

required to prove. Therefore, it must be analyzed under Rule 404(b).

             2. The evidence sought to be excluded is improper
                character evidence and not properly admitted
                under Rule 404(b).

      If the court finds the evidence to be extrinsically related to the crime

charged, the court must subsequently evaluate whether evidence of other crimes or

acts is admissible under Rule 404(b) 2 based on a four-part test:

      (1) [T]he evidence must have a proper purpose; (2) it must be relevant;
      (3) its probative value must outweigh its potential for unfair prejudice;
      and (4) the court must charge the jury to consider the evidence only for
      the limited purposes for which it is admitted.


677 F.3d 944, 952 (9th Cir. 2012); and United States v. Troya, 733 F.3d 1125, 1132
(11th Cir. 2013).
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  FED. R. EVID. 404(b).

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Huddleston v. United States, 485 U.S. 681, 691 (1988); United States v. Daraio,

445 F.3d 253, 264 (3d Cir. 2006); United States v. Cross, 308 F.3d 308, 320 (3rd

Cir. 2002). The court is particularly concerned with ensuring that the evidence is

admitted for a proper purpose. “In general, we favor the admission of Rule 404(b)

evidence when it is relevant for any other purpose than to show the defendant's

propensity to commit the charged offense.” Daraio, 445 F.3d at 263. In order to

show that the evidence has a proper purpose and is relevant, the “proponent must

clearly articulate how that evidence fits into a chain of logical inferences, no link

of which may be the inference that the defendant has the propensity to commit the

crime charged.” United States v. Himelwright, 42 F.3d 777, 782 (3rd Cir. 1994).

The court is cautious when admitting such evidence “because the motive, we

suspect, is often mixed between an urge to show some other consequential fact as

well as to impugn the defendant’s character.” United States v. Sampson, 980 F.2d

883, 886 (3d Cir. 1992).

      Here, the government must articulate a purpose that would exempt such

evidence from the general rule that evidence of a crime, wrong, or other act is not

admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character. See Rule 404(b)(1).




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              3. The Evidence Should Be Excluded Pursuant to
                 Rule 402 because it is irrelevant and under Rule
                 403 Because the Prejudice Outweighs the
                 Probative Value.

      Rule 403 of the Federal Rules of Evidence provides that “[a]lthough

relevant, evidence may be excluded if its probative value is substantially

outweighed by the danger of unfair prejudice, confusion of the issues, or

misleading the jury, or by considerations of undue delay, waste of time, or needless

presentation of cumulative evidence.” Fed. R. Evid. 403. In this case, admission of

the alleged uncharged wrongs or other acts would unduly prejudice Dr. Kraynak,

confuse and mislead the jury, and cause undue delay. The evidence is irrelevant,

unduly prejudicial and impugns Dr. Kraynak’s character with the sticky taint of

propensity.

      In other cases, courts have considered the strength of the government’s case

in deciding whether the prejudicial impact outweighs the probative value of the

evidence. In United States v Mathis, 264 F.3d 321 (3rd Cir. 2001), the Third

Circuit Court of Appeals upheld the District Court which allowed the testimony of

an unindicted co-conspirator concerning eleven uncharged bank robberies in a

bank robbery prosecution even though it did entail some risk of unfair prejudice

because the evidence from the co-conspirator was the only evidence directly

describing the conspiracy. Id. at 328. Similarly, in United States v. Cardenas, 895

F.2d 1338, (11th Cir. 1990), the court found that the probative value outweighed
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the prejudicial impact of prior drug dealings in a drug prosecution when the

government made a strong showing of a need for the evidence as the government

did not have powerful proof besides the testimony of two co-conspirators that

Cardenas intended to become an actor in the conspiracy to distribute cocaine in

Gainesville. Id. at 1343-44.

      Unlike the preceding two cases, the government has many witnesses and

documents to prove its case. Thus, the evidence the government seeks to introduce

should also be excluded from trial as the prejudicial impact certainly outweighs the

benefit to the government.




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      III.   Conclusion

      Dr. Kraynak respectfully asks the court to preclude the use of any of the

above-challenged evidence during trial for any purpose.




Date: June 7, 2021

Respectfully submitted,
/s/ Thomas A. Thornton                       /s/Gerald A. Lord
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                          CERTIFICATE OF SERVICE

      Thomas A. Thornton and Gerald A. Lord, Assistant Federal Public

Defenders, do hereby certify that this document, the foregoing Brief In Support

Of Motion in Limine to Preclude Evidence Under F.R.E. 402, 403 and 404 filed

electronically through the ECF system will be sent to the registered Participants as

identified on the Notice of Electronic Filing, including the following:

                     WILLIAM BEHE, ESQUIRE
                     Assistant United States Attorney


and by placing the same in the United States mail, first class, postage prepaid, at

Harrisburg / Williamsport, Pennsylvania, addressed to the following:

                     RAYMOND KRAYNAK


Date: June 7, 2021

s/Thomas A. Thornton                          s/Gerald A. Lord
Thomas A. Thornton                            Gerald A. Lord, Esquire
Assistant Federal Public Defender             Assistant Federal Public Defender




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